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UNITED sTATEs oF AMERICA tit \_ M§Um
-vs- Case No. 2:05cr20056~18Ma
RoI)NEY JoHNsoN

 

ORDER OF TEMPORARY DETENTION
PENDING HEARING1 PURSUANT TO
BAIL REFORM ACT

Upon motion of the Government, it is ORDERED that a detention hearing is set for
WEDNESDAY, SEPTEMBER 7, 2005 at 11:30 A.M. before United States Magistrate Judge
Diane K. Vescovo in Courtroom No. 5, Third Floor, United States Courthouse and Federal
Building, 167 North Main, Memphis, TN TN. Pending this hearing, the defendant shall be held in
custody by the United States Marshal and produced for the hearing.

Date: September 1,2005 /@AW /( @yf~

DIANE K. VESCOVO
UNITED STATES MAGISTRATE JUDGE

 

 

lIf not held immediately upon defendant‘s first appearance, the hearing may be continued for up to three days upon
motion of the government or up to five days upon motion of the defendant 18 U.S.C. § 3142(t)(2).

A hearing is required whenever the conditions set forth in 18 U.S.C. § 3142(f) are present Subsection (l) sets forth
the grounds that may be asserted only by the attomey for the government; subsection (2) states that a hearing is mandated
upon the motion of the attorney for the governmenth upon the judicial officer's own motion, if there is a serious risk that the
defendant (a) will flee or (b) will obstruct or attempt to obstruct j ustice, or threaten, injure, or intimidate or attempt to threaten,
inj ure, or intimidate a prospective witness or juror.

AO 470 (Bf85) Order of Termorary Detention

This document entered on the docket heat in compliance
with nine -3-: ami/er 32(1;)} lmch en i'/<§'£S l

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 94 in
case 2:05-CR-20056 Was distributed by faX, mail, or direct printing on
September 15, 2005 to the parties listed.

 

 

Thomas A. Colthurst

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

l\/lemphis7 TN 38103

Honorable Sarnuel Mays
US DISTRICT COURT

